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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

JODY K. FIDLER,                          )
                                         )
         Plaintiff,                      )
                                         )     Civil Action File
vs.                                      )     No.
                                         )
SUNTRUST BANK                            )
                                         )
         Defendant.                      )

                                    COMPLAINT

         Plaintiff Jody Fidler files this Complaint and alleges that Defendant

SunTrust Bank (“SunTrust”) has violated the Fair Labor Standards Act (“FLSA”).,

29 U.S.C. § 201, et seq., by misclassifying the Plaintiff as exempt and failing to

pay her straight time or overtime for hours worked in excess of forty (40) hours per

week. In support of her claim, Plaintiff asserts as follows:

                            NATURE OF THE ACTION

1. Plaintiff alleges pursuant to Section 216(b) of the FLSA that she: (i) has been

      misclassified as an exempt employee; (ii) is entitled to unpaid wages from

      Defendant for overtime work for which she did not receive overtime premium

      pay as required by law; and (iii) is entitled to liquidated damages pursuant to

      the FLSA.
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                            JURISDICTION AND VENUE

2. This court has subject matter jurisdiction over Plaintiff’s FLSA claims pursuant

    to 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

3. Venue is proper in this Northern District of Georgia pursuant to 28 U.S.C. §

    1391. Both parties reside in this district and division. SunTrust transacts

    business in this judicial district and the events giving rise to the claims herein

    occurred in this judicial district and division.

                                   THE PARTIES

4. Plaintiff Jody Fidler is a citizen and resident of Cobb County, Georgia.

5. From in or about March of 2013 through January 2015, Plaintiff was employed

    by   Defendant     as   an   Enterprise      Recovery   &   Resolution   Planning

    Communications          Manager      in      Operational    Risk    Management

    (“Communications Manager”).

6. Defendant SunTrust is a Georgia corporation with its principal place of business

    located in Atlanta, Georgia.

7. SunTrust maintains its corporate headquarters at 303 Peachtree St. NE, Atlanta,

    Fulton County, Georgia, 30308.




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8. At all relevant times SunTrust has continuously been an employer engaged in

    interstate commerce and/or the production of goods for commerce, within the

    meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

                     FACTUAL BASIS OF PLAINTIFF’S CLAIMS

9. Defendant operates and specializes in banking, including, but not limited to,

    personal banking, wealth management, small business banking, and corporate

    banking.

10. The principal job duties of a Communications Manager include: typing;

    preparing, at the direction of others, presentation materials; copying electronic

    and other files; and other tasks, none of which involved the exercise of

    discretion or independent judgment with respect to matters of significance.

11. Despite the title of “Communications Manager,” Plaintiff, in fact, did not have

    any managerial duties. Nor did she have any ability to exercise her own

    discretion. Rather, she was dictated and monitored by higher level managers.

12. Defendant has misclassified the Communications Manager as an exempt

    employee under the FLSA during all times relevant to these claims.

13. Based on this willful and deliberate misclassification, SunTrust has justified

    requiring Communications Managers like Plaintiff to work hours in excess of




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    40 hours a week, without any compensation (straight time or overtime) for those

    hours beyond the 40-hour week, in violation of the FLSA.

14. During the relevant time period, Plaintiff’s hours varied. In fact, sometimes

    SunTrust required her to work up to sixty (60) hours a week, including

    weekends.

                   COUNT I – FAIR LABOR STANDARDS ACT

15. Plaintiff realleges and incorporates by reference Paragraphs 1 through 15 as if

    they were set forth in full herein.

16. At all relevant times, SunTrust has been, and continues to be, an employer

    engaged in interstate commerce and/or the production of services for commerce,

    within the meaning of 29 U.S.C. §§ 206(a) and 207(a).

17. At all relevant times, SunTrust employed Plaintiff within the meaning of the

    FLSA, 29 U.S.C. §§ 201 et seq.

18. At all relevant times, SunTrust has had annual gross revenue in excess of

    $500,000.00.

19. At all relevant times, SunTrust had a policy and practice of misclassifying

    Communications Managers as exempt under the FLSA.




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20. At all relevant times, SunTrust had a policy and practice of refusing to pay any

    compensation, including straight time and overtime compensation, to Plaintiff

    for hours worked in excess of forty (40) hours per week.

21. As a result of SunTrust’s willful failure to compensate Plaintiff for all the hours

    she worked, as well as, at a rate not less than one and one-half times the regular

    rate of pay for work performed in excess of forty hours in a workweek, SunTrust

    has violated and continues to violate the FLSA, including §§ 207(a)(1) and

    215(a).

22. As a result of SunTrust’s misclassification of its Communication Manager and

    its attendant failure to record, report, credit and/or compensate the Plaintiff,

    SunTrust has failed to make, keep and preserve with respect to Plaintiff, records

    sufficient to determine the wages, hours, and other conditions and practices of

    employment in violation of the FLSA, including §§ 211(c) and 215(a).

23. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA

    within the meaning of the statute, 29 U.S.C. § 255(a).

24. Due to SunTrust’s FLSA violations, Plaintiff is entitled to recover from

    SunTrust her unpaid wages, as well as overtime compensation, an additional

    amount – equal to the unpaid wages and overtime – as liquidated damages

    additional liquidated damages for unreasonably delayed payment of wages,

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    reasonable attorneys’ fees, and costs and disbursements of this action, pursuant

    to § 216(b) of the FLSA.



                              PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff respectfully requests that this Court grant the

following relief:

       A.    Trial by Jury;

       B.    Award of unpaid wages, as well as all overtime compensation, due

             under the FLSA to the Plaintiff;

       C.    Award of liquidated damages to the Plaintiff as a result of

             SunTrust’s willful failure to pay for all wages due as well as

             overtime compensation pursuant to the FLSA;

       D.    Award of prejudgment and post judgment interest;

       E.    Award of costs and expenses of this action together with reasonable

             attorneys’ and expert fees; and

       F.    Such other relief as this Court deems just and proper.


                          JURY TRIAL DEMANDED

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury on all questions of fact raised by this Complaint
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      Respectfully submitted this 18th day of June, 2015.



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